                    Exhibit 31
Case 2:23-cv-00071-TRM-JEM Document 235-31 Filed 06/28/24 Page 1 of 11 PageID #:
                                    6641
6/27/24, 12:44 PM                                  Advocates for Survivors of Abuse Mail - Turner Document Production



                                                                  Vanessa Baehr-Jones <vanessa@advocatesforsurvivors.com>



  Turner Document Production
  Emily Taylor <etaylor@watsonroach.com>                                                   Wed, Jun 19, 2024 at 8:08 AM
  To: Sandy Vite <sandy@hbm-lawfirm.com>, Elizabeth Kramer <elizabeth@eko.law>
  Cc: Julie Erickson <julie@eko.law>, Vanessa Baehr-Jones <vanessa@advocatesforsurvivors.com>, Heather Collins
  <heather@hmccivilrights.com>, "Ben C. Allen" <ballen@fbb.law>, kberexa <kberexa@fbb.law>, danny
  <danny@moorerader.com>, jlakey <jlakey@bpjlaw.com>, kgrant <kgrant@rswlaw.com>, Maria Ashburn
  <mashburn@watsonroach.com>, Marie Chrisman <mchrisman@bpjlaw.com>, Jessica Dowd <jdowd@fbb.law>, L Rufolo
  <lrufolo@rswlaw.com>


     All,


     Below please find a link to a folder that contains potentially responsive text messages that were found on
     Karl Turner’s personal flip phone. Given our vendor’s inability to perform an extraction on his phone, taking
     a picture of the texts was the best way to capture the information in a way that included time stamps. As a
     reminder, Turner did not have a personal cell phone until after his retirement in February of 2023. I am also
     attaching the only responsive email we have located thus far in Turner’s personal email account. However, I
     am continuing to search that account.


     I believe Elizabeth asked for an update regarding the T-Mobile subpoena in one of her emails. To my
     knowledge, T-Mobile has not responded to the subpoena. I will try to check on that today and will update
     you if I hear anything.


     Finally, I am working with my vendor to search Turner’s Dell desktop computer that has been preserved in
     evidence since February 28, 2023. It will likely take me a week or two to complete that search.



     Turner Production


     Thanks,


     Emily




     From: Sandy Vite <sandy@hbm-lawfirm.com>
     Sent: Wednesday, June 19, 2024 10:41 AM
     To: Elizabeth Kramer <elizabeth@eko.law>
     Cc: Julie Erickson <julie@eko.law>; Vanessa Baehr-Jones <vanessa@advocatesforsurvivors.com>; Heather Collins
     <heather@hmccivilrights.com>; Emily Taylor <etaylor@watsonroach.com>; Ben C. Allen <ballen@fbb.law>;
     kberexa <kberexa@fbb.law>; danny <danny@moorerader.com>; jlakey <jlakey@bpjlaw.com>; kgrant
     <kgrant@rswlaw.com>; Maria Ashburn <mashburn@watsonroach.com>; Marie Chrisman
     <mchrisman@bpjlaw.com>; Jessica Dowd <jdowd@fbb.law>
     Subject: RE: JCPD Case - Meet and Confer
        Case 2:23-cv-00071-TRM-JEM Document 235-31 Filed 06/28/24 Page 2 of 11 PageID #:
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https://mail.google.com/mail/u/0/?ik=97e9959266&view=pt&search=all&permmsgid=msg-f:1802302610215846201&simpl=msg-f:1802302610215846…   1/10
6/27/24, 12:44 PM                                                                                                                                                                                              Advocates for Survivors of Abuse Mail - Turner Document Production


     Elizabeth, Emily is out of town the rest of this week. We will need to schedule when she is available for Turner issues. Thank you, Erick Sandy Sandy Vite, Legal Assistant to Samuel K. McPeak HERRIN,




     sophospsmartbannerend




     Elizabeth,


     Emily is out of town the rest of this week. We will need to schedule when she is available for Turner issues.


     Thank you,


     Erick




     Sandy



     Sandy Vite, Legal Assistant to Samuel K. McPeak

     HERRIN, McPEAK & ASSOCIATES

     515 E. Unaka Avenue

     P.O. Box 629

     Johnson City, TN 37605

     Phone: (423) 929-7113

     Fax: (423) 929-7114

     Email: sandy@hbm-lawfirm.com




     HERRIN, McPEAK

                          & ASSOCIATES

     ______________________

               Attorneys at Law



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     federal tax matter.




     From: Elizabeth Kramer <elizabeth@eko.law>
     Sent: Wednesday, June 19, 2024 10:27 AM
     To: Sandy Vite <sandy@hbm-lawfirm.com>
     Cc: Julie Erickson <julie@eko.law>; Vanessa Baehr-Jones <vanessa@advocatesforsurvivors.com>; Heather Collins
     <heather@hmccivilrights.com>; Emily Taylor <etaylor@watsonroach.com>; Ben C. Allen <ballen@fbb.law>; Kristin E.
     Berexa <kberexa@fbb.law>; Daniel H Rader IV <danny@moorerader.com>; jlakey@bpjlaw.com; Keith Grant
     <kgrant@rswlaw.com>; Maria Ashburn <mashburn@watsonroach.com>; Marie Chrisman <mchrisman@bpjlaw.com>;
     Jessica Dowd <jdowd@fbb.law>
     Subject: Re: JCPD Case - Meet and Confer


     Hi Erick,

     I had two separate meet and confer requests out: one just for Turner’s discovery responses (to you and Emily), and one
     for depositions (to everyone, on a separate thread).



     Since you’ve got counsel for all defendants available for Thursday at 3pm Eastern, I suggest we use that time to
     discuss depositions, and then reserve time before or after for Turner’s discovery responses.



     Does that work?



     Thank you,

     Elizabeth




     Elizabeth A. Kramer

     ERICKSON  KRAMER OSBORNE
       Case 2:23-cv-00071-TRM-JEM Document 235-31 Filed 06/28/24 Page 4 of 11 PageID #:
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6/27/24, 12:44 PM                                         Advocates for Survivors of Abuse Mail - Turner Document Production

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     From: Sandy Vite <sandy@hbm-lawfirm.com>
     Date: Wednesday, June 19, 2024 at 7:12 AM
     To: Elizabeth Kramer <elizabeth@eko.law>
     Cc: Julie Erickson <julie@eko.law>, Vanessa Baehr-Jones <vanessa@
     advocatesforsurvivors.com>, Heather Collins <heather@hmccivilrights.com>, Emily Taylor
     <etaylor@watsonroach.com>, Ben C. Allen <ballen@fbb.law>, Kristin E. Berexa
     <kberexa@fbb.law>, Daniel H Rader IV <danny@moorerader.com>, jlakey@bpjlaw.com
     <jlakey@bpjlaw.com>, Keith Grant <kgrant@rswlaw.com>, Maria Ashburn
     <mashburn@watsonroach.com>, Marie Chrisman <mchrisman@bpjlaw.com>, Jessica Dowd
     <jdowd@fbb.law>
     Subject: RE: JCPD Case - Meet and Confer

     Elizabeth:


     By all meet and confer accounts it takes a bit to get busy lawyer’s schedules coordinated. Patience is
     required and appreciated.


     We are available for a meet and confer on Thursday afternoon at 3:00 p.m. EST.


      Please confirm that is workable on your side, and we will distribute a link.
         Case 2:23-cv-00071-TRM-JEM Document 235-31 Filed 06/28/24 Page 5 of 11 PageID #:
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https://mail.google.com/mail/u/0/?ik=97e9959266&view=pt&search=all&permmsgid=msg-f:1802302610215846201&simpl=msg-f:1802302610215846…                       4/10
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     Thank you,


     Erick Herrin




     Sandy



     Sandy Vite, Legal Assistant to Samuel K. McPeak

     HERRIN, McPEAK & ASSOCIATES

     515 E. Unaka Avenue

     P.O. Box 629

     Johnson City, TN 37605

     Phone: (423) 929-7113

     Fax: (423) 929-7114

     Email: sandy@hbm-lawfirm.com




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     federal tax matter.




     From: Elizabeth Kramer <elizabeth@eko.law>
     Sent: Wednesday, June 19, 2024 1:57 AM
     To: Emily Taylor <etaylor@watsonroach.com>; Sandy Vite <sandy@hbm-lawfirm.com>
     Cc: Julie Erickson <julie@eko.law>
     Subject: Re: JCPD Case - Turner Discovery


     Emily and Erick,

     Please advise on my request for a meet and confer.



     Thank you,

     Elizabeth




     From: Emily Taylor <etaylor@watsonroach.com>
     Date: Thursday, June 13, 2024 at 9:53 AM
     To: Elizabeth Kramer <elizabeth@eko.law>, Sandy Vite <sandy@hbm-lawfirm.com>
     Subject: RE: JCPD Case - Turner Discovery

     Elizabeth,


     Turner’s work email and work phone have been searched using the search terms Plaintiff provided. I believe
     that data was produced months ago as part of either Volume 6 or 7 of the City’s production volumes. I could
     be wrong about the volume number. Plaintiffs have that data because one of the emails that came from
     Turner was used in Ball’s deposition, i.e. CITY-0075958.


     Erick and I will confer about your request for a meet and confer and get back to you.



     Emily C. Taylor
     865-637-1700 (office)
     865-525-2514 (fax)
     etaylor@watsonroach.com
        Case 2:23-cv-00071-TRM-JEM Document 235-31 Filed 06/28/24 Page 7 of 11 PageID #:
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6/27/24, 12:44 PM                                                                                                                                                                                               Advocates for Survivors of Abuse Mail - Turner Document Production




               Watson, Roach, Batson, Rowell & Lauderback, P.L.C.
               P. O. Box 131
               Knoxville, Tennessee 37901-0131



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     From: Elizabeth Kramer <elizabeth@eko.law>
     Sent: Thursday, June 13, 2024 12:30 PM
     To: Emily Taylor <etaylor@watsonroach.com>; Sandy Vite <sandy@hbm-lawfirm.com>
     Subject: Re: JCPD Case - Turner Discovery


     Thanks Emily and Erick, In terms of what’s in the City’s possession, Turner must have relevant documents on his work computer / in his work email, and possibly hard copies, located through your own se




     sophospsmartbannerend




     Thanks Emily and Erick,



     In terms of what’s in the City’s possession, Turner must have relevant documents on his work computer / in his work
     email, and possibly hard copies, located through your own search, and by applying the ESI protocol search terms to
     various data sources. Since nothing has been produced, can you explain what happened with those search and
     collection efforts?



     Additionally, I request a meet and confer on Turner’s discovery responses. Please propose a date and time any day next
     week and I will make myself available. Turner’s responses to not comply with Rule 34’s requirement to state, for each
     objection, whether documents are being withheld based on that objection. Please be prepared to state that on the phone
     call so we can focus on the objections that are not actually affecting your search and production.



                                  Case 2:23-cv-00071-TRM-JEM Document 235-31 Filed 06/28/24 Page 8 of 11 PageID #:
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6/27/24, 12:44 PM                                          Advocates for Survivors of Abuse Mail - Turner Document Production
     Lastly, please provide an update on the attorney-led search of the phone by Wednesday of next week. Also, what’s the
     status of the information the City subpoenaed for this number from T-Mobile?




     Thank you,

     Elizabeth




     Elizabeth A. Kramer

     ERICKSON KRAMER OSBORNE

     San Francisco, California

     Direct: (510) 919-2347

     www.eko.law




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     From: Emily Taylor <etaylor@watsonroach.com>
     Date: Saturday, June 8, 2024 at 6:59 AM
     To: Elizabeth Kramer <elizabeth@eko.law>
     Cc: Sandy Vite <sandy@hbm-lawfirm.com>
     Subject: RE: JCPD Case - Turner Discovery

     Elizabeth,

        Case 2:23-cv-00071-TRM-JEM Document 235-31 Filed 06/28/24 Page 9 of 11 PageID #:
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     I’ve added Erick to this email since he has primarily worked on the Turner responses since I’ve
     been inundated with continuing to respond to requests to the City. I have attached Turner’s
     discovery responses. As you will recall, Chief Turner retired in February of 2023. He did not have a
     personal cell phone until after his retirement. Regarding that personal phone, it is a very cheap flip
     phone. Our vendor shipped us a cell collection kit so we could attempt to extract/image the flip
     phone. After the collection kit arrived, we spent hours on the phone with my vendor trying to find
     some sort of software that was compatible with his flip phone. My vendor tried every tool available,
     and determined it was not possible to perform an extraction. If you want to see if your vendor is
     aware of a collection tool that is compatible with Chief Turner’s flip phone, we are open to what you
     can find. Otherwise, we will need to do an attorney led review of his phone, which as a flip phone,
     has very limited data. Since it cannot take screen shots, to the extent there is any discoverable
     information on the phone, we will take pictures of the information with either my smartphone or a
     camera.

     The model of the phone is:
     T-Mobile TCL flip phone
     Model: 4058W

     Erick and I will work on getting photos of any relevant info. on the flip phone after the depos. next
     week.

     Thanks,

     Emily

     From: Elizabeth Kramer <elizabeth@eko.law>
     Sent: Thursday, June 6, 2024 3:53 PM
     To: Emily Taylor <etaylor@watsonroach.com>
     Subject: JCPD Case - Turner Discovery

     Emily, As far as I can tell, we have received no discovery for Turner. Am I missing something? Can
     you explain, or let me know a time to meet and confer? Thank you, Elizabeth Elizabeth A. Kramer
     ERICK
     Caution! This message was sent from outside your organization.
     Allow sender<https://mail-cloudstation-us-west-2.prod.hydra.sophos.com/mail/api/xgemail/smart-
     banner/f056d4b1a14899b21361d42de62b3df4> | Block sender<https://mail-cloudstation-us-west-
     2.prod.hydra.sophos.com/mail/api/xgemail/smart-banner/e58d8ed7864c49cd844b0bfd2d230848>
     sophospsmartbannerend
     Emily,
     As far as I can tell, we have received no discovery for Turner. Am I missing something?
     Can you explain, or let me know a time to meet and confer?

     Thank you,
     Elizabeth


      Elizabeth A. Kramer
      ERICKSON KRAMER OSBORNE
      San Francisco, California
      Direct: (510) 919-2347
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      aHR0cDovL3d3dy5la28ubGF3&p=m&i=NjE0NzlkNThlZDYxMzQwZmQ0NWFlMDU5&t=
      SXdpdzRZbDBpZ3hSYkF2NmJGRG92T05sdXBYRVFLbFh1VC9wc3JNdE9tVT0=&h=
      439bbf89dddb45e5bcf02b06303033d4&s=AVNPUEhUT0NFTkNSWVBUSVbViKO5S8
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     [A picture containing clock, drawing             Description automatically generated]


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